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                                                                                       1301 Avenue of the Americas, 40th Floor
                                                                                                   New York, NY 10019-6022
                                                                                                           PHONE   212.999.5800
                                                                                                             FAX   212.999.5899
                                                                                                               www.wsgr.com




                                            November 17, 2020

VIA CM/ECF

The Honorable Pamela K. Chen
Senior United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:        United States v. Bo Mao, No. 1:19-cr-00392 (PKC)

Dear Judge Chen:

        We write on behalf of Defendant Bo Mao to request a modification to the terms of his
conditions of release. Specifically, Professor Mao respectfully requests that the Court remove
one of the sureties to Professor Mao’s bond, who will shortly return to China. We have
conferred with the government and the Pretrial Services Office, both of which consent to this
request.

       By way of background, Professor Mao was arrested on August 14, 2019, pursuant to a
complaint in the Northern District of Texas charging him with conspiring to commit wire fraud.
On August 20, 2019, before U.S. Magistrate Judge Jeffrey L. Cureton of the Northern District of
Texas, Professor Mao, in exchange for his release consented to the transfer of his case to the
Eastern District of New York. On the same day, he was released on a $100,000 appearance bond
secured by $100,000 in cashier’s checks provided by six suretors, including Zhijie Huang, who
provided $5,000.

        On August 28, 2019, Professor Mao was arraigned in the Eastern District of New York
before U.S. Magistrate Judge James Orenstein on a criminal information charging conspiracy to
commit wire fraud. Upon application by the government, Judge Orenstein issued a written order
providing that the $100,000 deposited with the clerk of the court in the Northern District of
Texas to secure the Professor Mao’s pretrial release should be transferred to the clerk of the court
in the Eastern District of New York to secure an appearance bond in this district. Dkt. Nos. 5, 6.1

   1
     Judge Orenstein did not issue a new appearance bond at the August 28, 2019 appearance.
Rather, he endorsed the appearance bond form from the Northern District of Texas. Dkt. Nos. 5,
6. Pursuant to the government’s request, on September 3, 2019, Chief Magistrate Judge Roanne



         AUSTIN     BEIJING BOSTON   BRUSSELS  HONG KONG  LONDON   LOS ANGELES  NEW YORK   PALO ALTO
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        Since his release, Professor Mao has lived with his wife and small children in Arlington
Texas. He is subject to electronic monitoring and has surrendered his passport. He has been
fully compliant with pretrial supervision and, of course, appeared in court, or in calls with the
court, as directed.

        In the period since Professor Mao’s release, one of Professor Mao’s six sureties, Zhijie
Huang, a fellow visiting professor at the University of Texas, Arlington, has made plans to
return to his home in China now that his term at UT is complete. He is scheduled to leave
tomorrow, November 18, 2010. As such, we are respectfully requesting that Professor Mao’s
bond be modified to remove Mr. Huang as a surety and that the $5,000 he previously posted be
promptly returned. We contacted both the government and Professor Mao’s Pretrial Services
officer in the Northern District of Texas to ensure that they had no objection to the removal of
Mr. Huang from the bond.

         In terms of logistics, having the Clerk’s Office issue a check to Mr. Huang with
sufficient time for him to cash or deposit it before he departs for China would be impossible.
Further, Mr. Huang is concerned that if the check is sent to him in China, he will have
difficulty depositing it in his Chinese bank account. Accordingly, as confirmed by the attached
letter, Mr. Huang respectfully requests that the funds be made payable either to Professor
Mao’s wife, Suzhen Wu, who will be able to return the funds to Mr. Huang when she returns to
China in the coming weeks, or to our law firm (which has offices in China) so that we can wire
the funds to Mr. Huang’s Chinese bank account.

       Accordingly, we respectfully request that the Court modify the conditions of Professor
Mao’s release to remove Mr. Huang from the bond. We have attached a proposed Order for the
Court’s consideration.2




L. Mann ordered that Professor Mao be subject to the same conditions of pretrial release as
imposed in the appearance bond authorized in the Northern District of Texas. Dkt. No. 11.
   2
     The proposed Order contemplates that the Court will select whether the Clerk should make
the check payable to the defendant’s wife or to our Firm.
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                                         Respectfully submitted,

                                         WILSON SONSINI GOODRICH & ROSATI
                                         Professional Corporation

                                         s/ Morris J. Fodeman
                                         Morris J. Fodeman
                                         Michael S. Sommer
                                         Kate T. McCarthy
                                         1301 Avenue of the Americas, 40th Floor
                                         New York, New York 10019
                                         Telephone: (212) 999-5800
                                         Facsimile: (212) 999-5899
                                         mfodeman@wsgr.com
                                         msommer@wsgr.com
                                         kmccarthy@wsgr.com

                                         Counsel for Defendant Bo Mao

cc: All Counsel of Record (via CM/ECF)
